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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-60863-CIV-AHS

   Zemiao Chen
                          Plaintiff,

          v.

   The Individuals, Partnerships and
   Unincorporated Associations Identified on
   Schedule A,

                          Defendants.                  /


               PLAINTIFF’S MOTION FOR CLERK’S ENTRY OF DEFAULT

         Plaintiff, Zemiao Chen (“Plaintiff”), by and through its undersigned counsel, hereby request

  that the Clerk enter default in this matter against the Defendants listed in Exhibit A (“Defaulting

  Defendants”) on the ground that Defaulting Defendants have failed to respond to the Complaint

  with the time prescribed by the Federal Rules of Civil Procedure. (See Declaration of Palmer in

  Support of Plaintiff’s Request for Clerk’s Entry of Default (“Palmer Decl. ¶4”), filed concurrently

  herewith.)

         The Defaulting Defendants have failed to appear in this litigation and failed to answer or

  otherwise respond to the Complaint, or serve a copy of any Answer. (Id. at ¶4.) Plaintiff is informed

  and believes that the Defaulting Defendants are not infants or incompetent person. (Id. at ¶5.)

  Plaintiff is informed and believes that the Service members Civil Relief Act does not apply. (Id.)

         WHEREFORE, Plaintiff Zemiao Chen, requests that default be entered against the

  defaulting Defendants listed in attached Exhibit A.



         Respectfully submitted this 23rd Day of August 2024.


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                                       Exhibit A
     No.               Store Name                       Seller ID
       1                  Abnaok                     ALZ9EBV3K1SP4
       3                  Aetygh                    ACRGYDU5S6M5K
       8                ASON-US                    A39W07TWMGPFZR
       9                Auony US                   A1TWUGM1549ELP
      13           BeiquduoTechnology              A3P3RFPWGUZHDH
      24                  cleanla                  A1OQNPP2CKP1YX
      26                Conbooes                    AZQ1AIF2YMSBT
      30                Darling-E                   A1VFBBPSU7UVI1
      33                  Derayee                   A1NOL378NYF8X1
      34             DINJIN STORE                   A2ZYH02LW1YJBY
      37                Emily Wan                    AB9XQJ1JEBLPT
      38                 EUARD                      AKUY9RC11KRRY
      41                  F-color                  AOUHWORKKQQTF
      42            FEISHUODIRECT                   AHOEGFGSZSSVR
      44                 Fey's Gift                A3STVSQ0KLH7MY
      45                 Flimikun                   AOTUNAYLE22JW
      46                   Flyusa                  A3C5O4KLGORWC8
      47                  flyzone                   A1LTPWKGQH4CZ
      51    guangzhoujurongmaoyiyouxiangongsi       A10MTI2342DYSY
      55              HAMATAPA                       A2LN3L9JISY2F5
      58             HiFiveUS Store                A171HBVZA1CKWK
      59                 Himatan                   A3R32NOMQACZFE
      62                 Homoney                    A1DCN5IERKSUA2
      63            HongFfengbusiness               AXRZY6HAS8D9Y
      64                Honkenda                    A16W6LO3DT5H27
      69                 IYWISH                    A3GMYKK4OO5EYD
      75              KINBOM store                  A24M55ADMJQEC9
      80                  Liannail                  A1V5X45QTP6TLK
      86               menolanaUS                   A2XL9F65VRE6S6
      88                Mototo US                  A2KTNWLS46NNVO
      91             Nanning Ouben                 A37M9MMAQC0RXC
      92                 NSSTAR                     A1E9K8N0L9QR0J
      96                orandream                  A38UA704AOURMF
      99              PEIPEITOYS                     A3Y9520XICWPR
     101              QidouTrading                  A26YUHQVOUCH7
     102             QIMIAO SHOP                   A2V48JQSMB3UQA
     105              QUHUAMAO                     AMWPHD38AXXSD


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     107                  Reemtoo                  A3VQL8K4NB32MM
     110             S&S Trading LLC               A3EWTZOKIFHA2C
     112                  senlie-us                A2R90WYWGJG750
     113                Senlin Store                A3LP48K21O9I37
     114               Shasha Music                A1OXHEYT3CC57D
     120                  SiuMask                  A1QVXV4KLSN508
     121           Small Boy Technology            A2FUYGP4FMB3FC
     122                STALIBIU                    A1P02J1Y6Q6XGJ
     126                 tankongxi                  A1UVIJE4Z71RYK
     129             The Life Company               A2AH5JU82LX8G7
     135                UYEAJNP                     A1UOIGP2YPS8SI
     137             vgsdfgfgfgrtuyj90             AYFVRIBO5WKFQ
     139               VOROLO-US                    AN3DNTC0XPZTP
     143                 WWAzuo                    A2OF7OMEM2LZJW
     145            Xianyang Instrument            A2N6WNM8B9PP5J
     148              xing meng ke ji               A17VR4BISSTUP9
     150                 xuanheng                  A2B4WVFCGJGGL0
     153      Yiwu Hande E-commerce Co., Ltd        AKOR7IUTV7MO
     154                  YotoUS                   ARKXML98YCZKB
     157                   Y-SHI                    AJZYSJTCEK3WF
     158            YuCang Direct Store             A130IDYED48YCB
     159            YVVZHOU PANN                   AOIUPGALUOABT
     160                  yyreach                   A26V71CNIORKU
     162               Zhaoyao Mall                 A213JVLB91APGB




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